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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

IN RE:

JOSEPH KELLY, JR. and
JERRI E. KELLY,

Debtors, CHAPTER 13
/

 

CHAPTER 13 PLAN
The Debtors submit the following Chapter 13 Plan:
I. FUTURE BHARNINGS

A, The Debtors submit to the supervision and control of the
trustee of $853.00 per month. However Debtors shall pay $623.00
per month to TIB Bank of the Keys as adequate protection until
confirmation of the Plan.

Ii. DURATION OF THE PLAN

A. The payments shall be made on behalf of the Debtors to the
trustee for a minimum of 36 months.

III. CLASSIFICATION AND TREATMENT OF CLAIMS

A. Priority Claims. The following are entitled to priority
claims under 11 U.S.C. §507 in the following amounts:

1. Internal Revenue Service $1,170.00.
B. Secured Claims.

Secured creditors, inter alia, are: Chrysler Financial,
Countrywide Home Loan, Lee County Tax Collector and TIB Bank of the
Keys.

1. Claim held by Chrysler Financial is secured by a lien
on Debtors’ 2004 Dodge Ram 1500 Quad 4x4. Pursuant to 11 USC Sec.
1325(a) (5) (C) the Debtors surrender all their right, title and
interest in the collateral in full satisfaction of this claim.

2. Claim held by Lee County Tax Collector is secured by
a lien on Debtors’ homestead which is in arrears in approximate sum
of $3,065.00, which will be paid through the plan. The claim

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holder will retain its lien.

3. Claim held by TIB Bank of the Keys is secured by a
lien on Debtors’ 2003 Nissan Murano SL 2WD. The collateral is
valued at $20,400.00 plus 4% simple interest of $2,040.00, for a
total of $22,440.00 which will be paid through the Plan. Until
confirmation, the Debtors wiil pay $623.00 per month directiy to
TIB Bank of the Keys as adequate protection. Upon confirmation,
all payments shall be made through the Plan. The claim holder will
retain its lien.

C. Unsecured Claims.

1. Ali timely filed and allowed unsecured claims, shall
be paid 20%, and the balance of each claim shall be discharged. All
payments shall first be applied to principle, then interest,
attorney’s fees, costs, service charges and then all other charges.
IV. GENERAL PROVISIONS

A. Upon entry of discharge of the Debtors, all codebtor
debts shall be considered paid in full and any obligation of the
codebtor shall hereby be extinguished.

V. PLAN PAYMENTS

A. Unsecured Claims (20% of $10,942.00) $ 2,188.40

B. Secured Claims $25,505.00
C. Priority $ 1,170.00
TOTAL CLAIM PAYMENTS $28,863.40
Trustee's fee (.06 of $30,705.74) S$ 1,842.34
TOTAL PAYMENTS $30,705.74

PRECONFIRMATION PAYMENT TO TRUSTEE IS $230.00.

DATED: 3/4 , 2005. Trent KO ae

JOBHPH KELLY, JR)
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JERR? BE. KELLY ~

 

MILLER and HOLLANDER

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By: *
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